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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA

                     Plaintiff,
                                               Case No. 09-CR-043-SPF

   v.

   LINDSEY KENT SPRINGER,
   OSCAR AMOS STILLEY

                     Defendants.

               MOTION FOR TRANSCRIPT AT GOVERNMENT EXPENSE

        Lindsey Kent Springer (“Springer”) moves the court for an order to

authorize all transcripts listed below from pre-trial, trial, and sentencing, not

already transcribed, at government expense.

        This court is already found Springer is unable to pay in its’ sentencing

dating April 23rd 2010. The court has previously provided witness travel for trial on

Springer’s behalf paid at government expense. Springer is currently

incarcerated by order of this court and is unable to work or afford the transcripts

needed.      Springer attaches a declaration in support of this motion.

        Springer needs the transcripts from the April 22nd 2009 hearing complete.

        Springer needs the transcripts from the hearing held on July 2nd 2009

complete.

        Springer needs the transcripts from the pre-trial conference held on

October 21st 2009 complete.

        Springer needs the transcripts beginning October 26th 2009 through

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November 16th 2009 including each day at trial and all transcripts regarding trial

issues occurring during trial but outside the presence of the jury, this includes

Springer’s pro-offer.

      Springer needs the sentencing transcript beginning April 21st 2010 through

and including April 23rd 2010 when Springer was remanded into the custody of

the U.S. Marshal.

      Therefore, Lindsey Kent Springer respectfully requests this court to issue an

order for transcripts identified above to be paid at public expense.



                                     Respectfully Submitted
                                 /s/ Lindsey K. Springer
                                 Lindsey K. Springer
                                 5147 S. Harvard, # 116
                                 Tulsa, Oklahoma 74135
                                 918-748-5539/955-8225(cell)




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                        CERTIFICATE OF SERVICE

      I hereby certify that this motion for sentencing transcript at government

expense and supporting declaration was ecf’d on April 29, 2010, to:

   Kenneth P. Snoke,
   Charles O’Reilly,

      And mailed to Oscar Stilley at: David L Moss, 300 N Denver, Tulsa,OK 74103
                                        Inmate#1189798



                        /s/ Lindsey K. Springer
                        Signature




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